848 F.2d 185Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kareem Akeem OLAJUWON, a/k/a Eugene Kennedy Smith, Plaintiff-Appellant,v.DEPARTMENT OF CORRECTIONS;  Fred W. Green, Acting Warden;Lieut. Joann Royster;  Sgt. Jerry W. Pulley;Grady Farley, Correctional Officer,Defendants-Appellees.
    No. 88-6015.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 19, 1988.Decided:  May 19, 1988.
    
      Kareem Akeem Olajuwon, appellant pro se.
      Mark Ralph Davis (Office of the Attorney General of Virginia), for appellees.
      Before WIDENER and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Kareem Akeem Olajuwon appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Olajuwon v. Department of Corrections, C/A No. 87-604-N (E.D.Va. Feb. 25, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    